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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 1:18-cv-24811-CMA


  STEVEN GROSSBERG,
  individually and on behalf of all
  others similarly situated,                                       CLASS ACTION

          Plaintiff,                                               JURY TRIAL DEMANDED

  v.

  GOSMITH, INC.

        Defendant.
  __________________________________/

                       NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

          Plaintiff Steven Grossberg, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby

  voluntarily dismisses the instant action. All claims of Plaintiff, individually, are hereby dismissed with

  prejudice.


  Date: February 1, 2019



                                                                   Respectfully submitted,


                                                                   /s/ Manuel S. Hiraldo____________
                                                                   Manuel S. Hiraldo
                                                                   HIRALDO P.A.
                                                                   Florida Bar No. 030380
                                                                   401 E. Las Olas Boulevard
                                                                   Suite 1400
                                                                   Ft. Lauderdale, Florida 33301
                                                                   Email: mhiraldo@hiraldolaw.com
                                                                   Telephone: 954.400.4713

                                                                   Counsel for Plaintiff and the Class
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 1, 2019, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                        By: /s/ Manuel S. Hiraldo
                                                        Manuel S. Hiraldo, Esq.
                                                        HIRALDO P.A.
                                                        401 E. Las Olas Boulevard
                                                        Suite 1400
                                                        Ft. Lauderdale, Florida 33301
                                                        Florida Bar No. 030380
                                                        mhiraldo@hiraldolaw.com
                                                        Telephone: 954.400.4713
